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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION

JUAN ZAPIEN-PACHECO,

      Movant,

v.                                             Case No. CV416-152
                                                        CR413-129
UNITED STATES OF AMERICA,

      Respondent.

                    REPORT AND RECOMMENDATION

      Having pled guilty to, and been sentenced for, being an illegal alien

in possession of a firearm and for carrying a firearm during and in

relation to a drug trafficking crime, (doc. 144 (plea agreement) 1 , doc. 145

(judgment) (entered January 23, 2014)), Juan Zapien-Pacheco moves

under 28 U.S.C. § 2255 to vacate his carrying conviction. Doc. 34.

Preliminary review under Rule 4 of the Rules Governing Section 2255

Proceedings shows that his motion must be denied.

      After the Court sentenced him to 100 months’ imprisonment (doc.

145), Zapien-Pacheco never appealed. His conviction thus became final


1
 All citations are to the criminal docket unless otherwise noted and all page
numbers are those imprinted by the Court’s docketing software.
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on February 6, 2014. Fed. R. App. P. 4(b)(1)(A) (criminal defendants

must file a notice of appeal within 14 days of the entry of judgment). He

filed the instant § 2255 motion almost two years later. Doc. 240 at 2

(filed June 14, 2016). In it he argues that Johnson v. United States ,

U.S. ___, 135 S. Ct. 2551 (2015), voids his 18 U.S.C. § 924(c) conviction

for carrying a firearm during and in relation to a drug trafficking crime.

Doc. 240 at 3.

     The Armed Career Criminal Act (“ACCA”) -- the statute Johnson

addressed -- provides enhanced penalties for defendants who are (1)

convicted of being felons in possession of firearms in violation of 18

U.S.C. § 922(g) and (2) have “three prior convictions . . . for a violent

felony or a serious drug offense, or both.” It defines “violent felony” as,

among other things, a felony that “otherwise involves conduct that

presents a serious potential risk of physical injury to another.”   Id. at §

924(e)(2)(B). Johnson found that “residual” clause so vague as to violate

due process. See 135 S. Ct. at 2557. Importantly, it said nothing about

“serious drug offenses,” which remain a valid basis for ACCA

enhancements.    See id. at 2563 (“Today's decision does not call into

question application of the Act to the four enumerated offenses, or the
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remainder of the Act’s definition of a violent felony,” much less its

definition of “serious drug offense”).

      Even assuming it applies at all to § 924(c), 2 Johnson provides

Zapien-Pacheco no succor here. Under § 924(c), a person cannot use or

carry a firearm during or in relation to “any crime of violence or drug

trafficking crime.” 18 U.S.C. § 924(c)(1)(A) (emphasis added). Although

one clause of its crime of violence definition reads similarly to ACCA’s

residual clause (and thus Johnson ’s logic may well apply), Zapien-

Pacheco committed a drug trafficking offense.

      As the Government aptly put it, “ Johnson has no conceivable

application in that context.” Doc. 244 at 3. That’s because Johnson says

nothing about the viability of “serious drug offense” 3 predicates. See 135

S. Ct. at 2563. The term “drug trafficking crime” in § 924(c)(1)(A) covers




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 Some courts have found that it does. See, e.g. , United States v. Baires-Reyes , 2016
WL 3163049 at * 5 (N.D. Cal. June 7, 2016) (finding that § 924(c)'s residual clause is
unconstitutionally vague). In this circuit it remains an open question. See In re St.
Fleur, ___ F.3d ___, 2016 WL 3190539 at * 3 (11th Cir. June 8, 2016).
3
 Under ACCA, “serious drug offense” means, among other things, “an offense under
State law, involving manufacturing, distributing, or possessing with intent to
manufacture or distribute, a controlled substance (as defined in section 102 of the
Controlled Substances Act (21 U.S.C. 802)), for which a maximum term of
imprisonment of ten years or more is prescribed by law.” 18 U.S.C. § 924(e)(2)(A)(ii).


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similar ground as that ACCA phrase. 4 And just as Johnson ’s logic failed

to implicate drug offenses in the ACCA context, so too does it not apply

to “drug trafficking crimes” for purposes of § 924(c).

      It follows that Zapien-Pacheco cannot look to Johnson and §

2255(f)(3) to define when his one-year statute of limitations began to

run. Instead, he’s relegated to § 2255(f)(1), which dictates that the clock

started the day his conviction became final (February 6, 2014). His time

to file for § 2255 relief thus expired on February 6, 2015, so his motion is

untimely by well over a year (he did not file it until June 14, 2016, doc.

240 at 2). 5

      Accordingly, Juan Zapien-Pacheco’s § 2255 motion should be

DENIED . Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States , 2009 WL 307872 at * 1-2 (S.D. Ga.

Feb.9, 2009), the Court discerns no COA-worthy issues at this stage of


4
 “Drug trafficking crime” under § 924(c)(2) “means any felony punishable under the
Controlled Substances Act.”

5
  Equitable tolling can, in exceptional circumstances, allow untimely motions to
proceed. See Holland v. Florida, 560 U.S. 631, 649 (2010). So can a “‘fundamental
miscarriage of justice’” that “‘has probably resulted in the conviction of one who is
actually innocent.’” Fail v. United States , 2016 WL 1658594 at * 4 (S.D. Ga. Mar. 24,
2016) (quoting McQuiggin v. Perkins , 133 S. Ct. 1924, 1931 (2013)). Zapien-Pacheco
invokes neither tolling nor the miscarriage exception, and offers no new evidence or
exceptional circumstances to trigger either.
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the litigation, so no COA should issue either. 28 U.S.C. § 2253(c)(1);

Rule 11(a) of the Rules Governing Habeas Corpus Cases Under 28 U.S.C.

§ 2255 (“The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.”)

(emphasis added). Any motion for leave to appeal in forma pauperis

therefore is moot.

        SO REPORTED AND RECOMMENDED this 25th day of July,

2016.



                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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